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1    Matthew Cunanan, WSBA #42530                                         Hon. Jamal N. Whitehead
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4
                                  UNITED STATES DISTRICT COURT
5                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
6
7     VALVE CORPORATION,
                                            Plaintiff,       Case No. 2:23-cv-01016 JNW
8     v.
9                                                            NOTICE OF APPEARANCE
      LEIGH ROTHSCHILD, ROTHSCHILD
      BROADCAST DISTRIBUTION SYSTEMS, LLC,
10
      DISPLAY TECHNOLOGIES, LLC, PATENT
11    ASSET MANAGEMENT, LLC, MEYLER
      LEGAL, PLLC, AND SAMUEL MEYLER,
12
                                   Defendants.
13          Defendants LEIGH ROTHSCHILD, ROTHSCHILD BROADCAST DISTRIBUTION
14   SYSTEMS, LLC, DISPLAY TECHNOLOGIES, LLC, PATENT ASSET MANAGEMENT,
15   LLC, MEYLER LEGAL, PLLC and SAMUEL MEYLER file this Notice of Appearance, and

16   hereby notifies the Court that Matthew Cunanan and DC Law Group have entered his appearance
     as counsel for the Defendants named above. In connection with this notice, all future pleadings
17
     and other papers filed under Fed. R. Civ. P. 5 should also be served on him at the address above,
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     or via email through the Court’s CM/ECF email notification system. This appearance of counsel
19
     is without waiver by said defendant of any defenses available to them, including any defenses
20   based upon improper or deficient service of process, lack of personal jurisdiction, improper or
21   inconvenient forum, or any other defenses.

22                  DATED: September 20, 2023.

23   ____________________________
     Matthew Cunanan, WSBA #42530
24   Attorney for Defendants Leigh Rothschild, Rothschild Broadcast Distribution Systems, LLC,
     Display Technologies, LLC, Patent Asset Management, LLC, Meyler Legal, PLLC & Samuel Meyler
25

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